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 Fill in this information to identify your case:

  Debtor 1                   Betty                   J                   Wines
                                                                                                                   ✔ Check if this is an
                                                                                                                   ❑
                                                                                                                      amended plan, and list
                             First Name              Middle Name        Last Name
                                                                                                                      below the sections of the
  Debtor 2                   Robert                  R.                  Wines                                        plan that have been
  (Spouse, if filing)        First Name              Middle Name        Last Name                                     changed.

  United States Bankruptcy Court for the:                          Northern District of Illinois

  Case number                           19-21773
  (if known)


Official Form 113
Chapter 13 Plan                                                                                                                            12/17

Part 1: Notices



To Debtors:             This form sets out options that may be appropriate in some cases, but the presence of an option on the form does
                        not indicate that the option is appropriate in your circumstances or that it is permissible in your judicial district.
                        Plans that do not comply with local rules and judicial rulings may not be confirmable.

                        In the following notice to creditors, you must check each box that applies.

To                      Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated.
Creditors:              You should read this plan carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do
                        not have an attorney, you may wish to consult one.
                        If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an
                        objection to confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered
                        by the Bankruptcy Court. The Bankruptcy Court may confirm this plan without further notice if no objection to
                        confirmation is filed. See Bankruptcy Rule 3015. In addition, you may need to file a timely proof of claim in order to be
                        paid under any plan.
                        The following matters may be of particular importance. Debtors must check one box on each line to state whether or
                        not the plan includes each of the following items. If an item is checked as “Not Included” or if both boxes are
                        checked, the provision will be ineffective if set out later in the plan.


  1.1     A limit on the amount of a secured claim, set out in Section 3.2, which may result in a              ❑                ✔ Not
                                                                                                                                ❑
          partial payment or no payment at all to the secured creditor                                        Included        Included

  1.2     Avoidance of a judicial lien or nonpossessory, nonpurchase-money security interest,                  ❑                ✔ Not
                                                                                                                                ❑
          set out in Section 3.4                                                                              Included        Included

  1.3     Nonstandard provisions, set out in Part 8                                                            ✔
                                                                                                               ❑                ❑ Not
                                                                                                              Included        Included


Part 2: Plan Payments and Length of Plan


2.1 Debtor(s) will make regular payments to the trustee as follows:

           $610.00            per month            for   36    months.

    If fewer than 60 months of payments are specified, additional monthly payments will be made to the extent necessary to make the
    payments to creditors specified in this plan.
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2.2 Regular payments to the trustee will be made from future income in the following manner:
   Check all that apply.
   ❑ Debtor(s) will make payments pursuant to a payroll deduction order.
   ✔ Debtor(s) will make payments directly to the trustee.
   ❑
   ❑ Other (specify method of payment):                                            .

2.3 Income tax refunds.
   Check one.
   ❑ Debtor(s) will retain any income tax refunds received during the plan term.
   ❑ Debtor(s) will supply the trustee with a copy of each income tax return filed during the plan term within 14 days of filing the return
   and will      turn over to the trustee all income tax refunds received during the plan term.
   ✔ Debtor(s) will treat income tax refunds as follows:
   ❑
       Debtors shall submit a copy of their federal income tax return to the Trustee each year, beginning with the tax return for the tax
       year in which this case was filed, no later than April 20th. The debtor shall tender to the Trustee the amount of any tax refund in
       excess of $1,200.00 each year, beginning the year after the plan is confirmed, within 7 days of receipt of the tax refund.
       Refunds must be received by the Trustee by June 30th of each year.


2.4 Additional payments.
   Check one.
   ✔ None. If “None” is checked, the rest of § 2.4 need not be completed or reproduced.
   ❑
2.5 The total amount of estimated payments to the trustee provided for in §§ 2.1 and 2.4 is         $21,960.00

Part 3: Treatment of Secured Claims


3.1 Maintenance of payments and cure of default, if any.
   Check one.
   ❑ None. If “None” is checked, the rest of § 3.1 need not be completed or reproduced.
   ✔ The debtor(s) will maintain the current contractual installment payments on the secured claims listed below, with any changes
   ❑
    required
        by the applicable contract and noticed in conformity with any applicable rules. These payments will be disbursed either by the
         trustee or directly by the debtor(s), as specified below. Any existing arrearage on a listed claim will be paid in full through
        disbursements by the trustee, with interest, if any, at the rate stated. Unless otherwise ordered by the court, the amounts listed
        on a proof of claim filed before the filing deadline under Bankruptcy Rule 3002(c) control over any contrary amounts listed
        below as to the current installment payment and arrearage. In the absence of a contrary timely filed proof of claim, the
        amounts stated below are controlling. If relief from the automatic stay is ordered as to any item of collateral listed in this
        paragraph, then, unless otherwise ordered by the court, all payments under this paragraph as to that collateral will cease, and all
         secured claims based on that collateral will no longer be treated by the plan. The final column includes only payments disbursed
        by the trustee rather than by the debtor(s).


         Name of Creditor / Collateral                           Current           Amount of       Interest rate   Monthly      Estimated
                                                                 Installment       arrearage       on              plan         total
                                                                 Payment           (if any)        arrearage       payment on   payments
                                                                 (including                        (if             arrearage    by trustee
                                                                 escrow)                           applicable)

         Select Portfolio Servicing, Inc.                        $945.00               $3,327.00      0.00%          Pro-Rata     $3,327.00
        Collateral                                               Disbursed by:
        2321 S. 16th Ave Broadview, IL 60155
                                                                 ❑ Trustee
                                                                 ✔ Debtor(s)
                                                                 ❑
        Insert additional claims as needed.
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3.2 Request for valuation of security, payment of fully secured claims, and modification of undersecured claims. Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 3.2 need not be completed or reproduced.


3.3 Secured claims excluded from 11 U.S.C. § 506.
   Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 3.3 need not be completed or reproduced.

3.4 Lien Avoidance
   Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 3.4 need not be completed or reproduced.

3.5 Surrender of collateral.
   Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 3.5 need not be completed or reproduced.

Part 4: Treatment of Fees and Priority Claims


4.1 General
   Trustee’s fees and all allowed priority claims, including domestic support obligations other than those treated in § 4.5, will be paid in
   full without postpetition interest.

4.2 Trustee’s fees
   Trustee’s fees are governed by statute and may change during the course of the case but are estimated to be 6.00 % of plan
   payments; and during the plan term, they are estimated to total $1,317.60 .


4.3 Attorney’s fees
   The balance of the fees owed to the attorney for the debtor(s) is estimated to be $4,010.00 .


4.4 Priority claims other than attorney’s fees and those treated in § 4.5.
   Check one.

   ❑ None. If “None” is checked, the rest of § 4.4 need not be completed or reproduced.
   ✔ The debtor(s) estimate the total amount of other priority claims to be $12,236.32
   ❑                                                                                            .


4.5 Domestic support obligations assigned or owed to a governmental unit and paid less than full amount.
   Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 4.5 need not be completed or reproduced.

Part 5: Treatment of Nonpriority Unsecured Claims


5.1 Nonpriority unsecured claims not separately classified.
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   Allowed nonpriority unsecured claims that are not separately classified will be paid, pro rata. If more than one option is checked, the
   option providing the largest payment will be effective. Check all that apply.

   ❑    The sum of .

   ✔
   ❑    5.07 % of the total amount of these claims, an estimated payment of        $1,069.08    .

   ✔
   ❑    The funds remaining after disbursements have been made to all other creditors provided for in this plan.

       If the estate of the debtor(s) were liquidated under chapter 7, nonpriority unsecured claims would be paid approximately
           $1,069.08 . Regardless of the options checked above, payments on allowed nonpriority unsecured claims will be made in at
       least this amount.

5.2 Maintenance of payments and cure of any default on nonpriority unsecured claims. Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 5.2 need not be completed or reproduced.

5.3 Other separately classified nonpriority unsecured claims. Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 5.3 need not be completed or reproduced.

Part 6: Executory Contracts and Unexpired Leases


6.1 The executory contracts and unexpired leases listed below are assumed and will be treated as specified. All other executory
contracts and unexpired leases are rejected. Check one.

   ✔
   ❑    None. If “None” is checked, the rest of § 6.1 need not be completed or reproduced.

Part 7: Vesting of Property of the Estate


7.1 Property of the estate will vest in the debtor(s) upon
   Check the applicable box:

   ❑    plan confirmation.

   ✔
   ❑    entry of discharge.

   ❑    other:                                                        .

Part 8: Nonstandard Plan Provisions


8.1 Check “None” or List Nonstandard Plan Provisions

   ❑    None. If “None” is checked, the rest of Part 8 need not be completed or reproduced.

Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise
included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere in this plan are ineffective.

The following plan provisions will be effective only if there is a check in the box “Included” in § 1.3.

   Distribution
   Secured claims and Debtors' attorney's fees will be paid before debts to the Internal Revenue Service.
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Part 9: Signature(s):


9.1 Signatures of Debtor(s) and Debtor(s)’ Attorney
If the Debtor(s) do not have an attorney, the Debtor(s) must sign below; otherwise the Debtor(s) signatures are optional. The attorney for
the Debtor(s), if any, must sign below.


      X              /s/ Betty J Wines                                   X             /s/ Robert R. Wines
       Signature of Debtor 1                                              Signature of Debtor 2

       Executed on        09/12/2019                                      Executed on            09/12/2019
                     MM / DD / YYYY                                                      MM / DD / YYYY




      X             /s/ Robert J Adams                                   Date                09/12/2019
       Signature of Attorney for Debtor(s)                                      MM / DD / YYYY



By filing this document, the Debtor(s), if not represented by an attorney, or the Attorney for Debtor(s) also certify(ies) that the
wording and order of the provisions in this Chapter 13 plan are identical to those contained in Official Form 113, other than any
nonstandard provisions included in Part 8.
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Exhibit: Total Amount of Estimated Trustee Payments

The following are the estimated payments that the plan requires the trustee to disburse. If there is any difference between the amounts
set out below and the actual plan terms, the plan terms control.

     a.   Maintenance and cure payments on secured claims (Part 3, Section 3.1 total)                                      $3,327.00

     b.   Modified secured claims (Part 3, Section 3.2 total)                                                                   $0.00

     c.   Secured claims excluded from 11 U.S.C. § 506 (Part 3, Section 3.3 total)                                              $0.00

     d.   Judicial liens or security interests partially avoided (Part 3, Section 3.4 total)                                    $0.00

     e.   Fees and priority claims (Part 4 total)                                                                         $17,563.92

     f.   Nonpriority unsecured claims (Part 5, Section 5.1, highest stated amount)                                        $1,069.08

     g.   Maintenance and cure payments on unsecured claims (Part 5, Section 5.2 total)                                         $0.00

     h.   Separately classified unsecured claims (Part 5, Section 5.3 total)                                                    $0.00

     i.   Trustee payments on executory contracts and unexpired leases (Part 6, Section 6.1 total)                              $0.00

     j.   Nonstandard payments (Part 8,                                                                                         $0.00
          total)                                                                      +

          Total of lines a through j                                                                                      $21,960.00
